           Case 5:21-cv-00844-XR Document 740 Filed 09/01/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                              5:21-CV-0844-XR
                                    §                              (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §

     DEFENDANTS DYANA LIMON-MERCARDO 1 AND JOSÉ GARZA’S NOTICE
                   REGARDING MOTIONS IN LIMINE

        Defendants Dyana Limon-Mercado and José Garza (collectively, “Travis County

Defendants”), pursuant to the Order entered on August 23, 2023, hereby submit that they will not

file a motion in limine. Nothing in this notice is to be construed as an admission of any allegation

against them in this action, and Defendants Dyana Limon-Mercado and José Garza reserve all

applicable defenses.

                                                  Respectfully submitted,

                                                  DELIA GARZA
                                                  County Attorney, Travis County
                                                  P. O. Box 1748
                                                  Austin, Texas 78767
                                                  Telephone: (512) 854-9513
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                                          By:     /s/ Anthony J. Nelson
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1
 Travis County Clerk Dyana Limon-Mercado took office as the duly elected Travis County Clerk effective January
1, 2023. Pursuant to Federal Rule of Civil Procedure 25(d), Travis County Clerk Limon-Mercado is automatically
substituted as a party herein.
         Case 5:21-cv-00844-XR Document 740 Filed 09/01/23 Page 2 of 2




                                             Tony.Nelson@traviscountytx.gov

                                             ATTORNEYS FOR DEFENDANTS
                                             DYANA LIMON-MERCADO AND JOSÉ
                                             GARZA, IN THEIR OFFICIAL CAPACITIES
                                             AS TRAVIS COUNTY CLERK, AND
                                             DISTRICT ATTORNEY, RESPECTIVELY.



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this motion was served through the Court’s
CM/ECF Document Filing System upon each attorney of record and the original upon the Clerk
of Court on this the 1st day of September, 2023.

                                                    /s/ Anthony J. Nelson
                                                    ANTHONY J. NELSON
                                                    Assistant County Attorney
